FRANK S. KOZIOL, ESQ.
Attorney at Law
618 Christensen Drive
Anchorage, Alaska 99501
907-258-7706

Counsel for Defendant
BERKSHIRE HATHAWAY HOMESTATE
INSURANCE COMPANY, formerly
and/or d/b/a CORNHUSKER
CASUALTY COMPANY


                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA


AARON BAILEY,              )
                           )
          Plaintiff,       )
                           )     Case No. 3:12-cv-00139 TMB
     vs.                   )
                           )
BERKSHIRE HATHAWAY         )
HOMESTATE INSURANCE        )
COMPANY formerly and/or    )     NOTICE TO COURT ADVISING
d/b/a CORNHUSKER CASUALTY )      PARTIES HAVE SETTLED CASE
COMPANY,                   )
                           )
          Defendant.       )
___________________________)


     COMES NOW Defendant BERKSHIRE HATHAWAY HOMESTATE INSURANCE

COMPANY formerly and/or d/b/a CORNHUSKER CASUALTY COMPANY, by and

through its attorney, FRANK S. KOZIOL, and hereby notifies the

Court of the status of this case.      The Parties met on March 26,

2014 to mediate the case and were able to settle the above-

referenced case.




      Case 3:12-cv-00139-TMB Document 24 Filed 04/09/14 Page 1 of 2
      Therefore, the Parties request that the Status Conference1

scheduled on April 18, 2014 at 9:00 a.m. be vacated.

      A Stipulation For Dismissal With Prejudice will be filed.

      DATED this 9th day of April, 2014.

                               LAW OFFICE OF FRANK S. KOZIOL
                               Attorney for Defendant
                               BERKSHIRE HATHAWAY HOMESTATE
                               INSURANCE COMPANY, formerly
                               and/or d/b/a CORNHUSKER
                               CASUALTY COMPANY

                         By:   /s/ Frank S. Koziol
                               Law Office of Frank S. Koziol
                               618 Christensen Drive
                               Anchorage, Alaska 99501
                               Phone: 907-258-7706
                               Fax: 907-258-7707
                               Email: koziol@gci.net
                               ritabennett.koziol@gci.net
                               ABA No. 7210054


THIS IS TO CERTIFY that on April 9, 2014, a true
and correct copy of the foregoing was served on:

 Charles W. Coe
 Law Office of Charles W. Coe
 810 W. Second Ave.
 Anchorage, AK 99501

by first class regular mail, if noted above, or by electronic
means through the ECF system as indicated on the Notice
of Electronic Filing.

 s/ Frank S. Koziol




      1
          Docket 23.

Notice to Court Advising Parties Have Settled Case
Aaron Bailey v. Berkshire Hathaway Homestate Insurance Company et al.
Case No. 3:12-cv-00139 TMB
Page 2 of 2




          Case 3:12-cv-00139-TMB Document 24 Filed 04/09/14 Page 2 of 2
